Case 19-10093-amc             Doc 67   Filed 05/07/19 Entered 05/07/19 15:18:29                             Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA




In re:                                         :       Chapter 7
          Peter J. Wirs                        :       Converted from Chapter 13
                          Debtor               :       Case No: 1940093 - AMC




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T0 the Clerk    0fthe Court

         Please withdraw Proposed Order (ECF No. 54) and replace it with the Revised Proposed Order




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(ECF N0. 67) both relating to the pending Motion to Conﬁrm Arbitration Award (ECF No. 41).


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Dated: May 7, 2019                                                                           wgmwwsaamgmi
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